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C.   DECLARATION OF BRIAN PETERSON
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                 UNITED STATES BANKRUPTCY COURT FOR THE
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

 In re:
                                                        Case No. 6:23-bk-04081-TPG
                                                        Chapter 11
 EVOLUTION MICRO, LLC
                                                        Subchapter V Election
           Debtor.



 DECLARATION OF BRIAN T. PETERSON IN SUPPORT OF AMAZON.COM
   SERVICES, LLC’S RESPONSE TO OBJECTION TO ALLOWANCE OF
          CLAIM NO. 8 BY AMAZON.COM SERVICES, LLC

          Brian T. Peterson, pursuant to 28 U.S.C. § 1746, hereby certifies and declares as

follows:

          1.     I am a Partner at the law firm of K&L Gates LLP, counsel to Amazon.com

Services, LLC. I am over the age of eighteen, I am competent to testify, and I have personal

knowledge of the facts set forth herein.

          2.     Attached hereto as Exhibit A is a true and correct copy of an email exchange

between myself and Debtor’s counsel. Debtor’s counsel did not respond to my email dated

December 6, 2023.

          I declare under the penalty of perjury under the laws of the United States of

America that the foregoing is true and correct to the best of my knowledge.

          EXECUTED this 23rd day of February, 2024, at Edmonds, Washington.



                                               /s/ Brian T. Peterson
                                               Brian T. Peterson




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             Exhibit A
                                                                                                                                                                                                                      Case 6:23-bk-04081-TPG        Doc 86-3   Filed 02/26/24   Page 4 of 6


Morse, Chloe C.

From: Peterson, Brian T.
Sent: Wednesday, December 06, 2023 2:58 PM
To: 'Justin Luna' <jluna@lathamluna.com>
Cc: Benjamin Taylor <Btaylor@lathamluna.com>; Gearin, Mike <Mike.Gearin@klgates.com>; Lentz, Denise A.
<Denise.Lentz@klgates.com>; Everhardt, Carly S. <Carly.Everhardt@klgates.com>
Subject: RE: In re Evolution Micro LLC; Case No. 6:23-bk-04081-TPG

Here is a link to the BSA: https://sellercentral.amazon.com/help/hub/reference/external/G1791

Based on your email, we understand that the BSA will be rejected under the Plan, and Amazon will have no further
obligation to perform under the BSA once the Plan goes effective. To the extent that the Debtor has inventory being
stored by Amazon, will it recovering such inventory to sell via other means?

-Brian

From: Justin Luna <jluna@lathamluna.com>
Sent: Tuesday, December 05, 2023 4:57 PM
To: Peterson, Brian T. <Brian.Peterson@klgates.com>
Cc: Benjamin Taylor <Btaylor@lathamluna.com>; Gearin, Mike <Mike.Gearin@klgates.com>; Lentz, Denise A.
<Denise.Lentz@klgates.com>; Everhardt, Carly S. <Carly.Everhardt@klgates.com>
Subject: Re: In re Evolution Micro LLC; Case No. 6:23-bk-04081-TPG
Please send me the BSA. We are not going to sell on the platform the plan provides that we are not filing any motion to assume 365 contracts as well. Justin M. Luna Latham, Luna, Eden & Beaudine, LLP 201 S. Orange Avenue, Suite 1400 Orlando,
ZjQcmQRYFpfptBannerStart




                  This Message Is From an Untrusted Sender
                  You have not previously corresponded with this sender.

  ZjQcmQRYFpfptBannerEnd




  Please send me the BSA. We are not going to sell on the platform the plan provides that we are not filing any motion to assume 365
  contracts as well.

  Justin M. Luna
  Latham, Luna, Eden & Beaudine, LLP
  201 S. Orange Avenue, Suite 1400
  Orlando, Florida 32801
  (407) 481-5804
  jluna@lathamluna.com
  @orlbankruptcy
  Board Certified Business Bankruptcy Attorney


                                                                                  On Dec 5, 2023, at 7:49 PM, Peterson, Brian T. <Brian.Peterson@klgates.com> wrote:




                                                                                                                                                                                                                                                        1
                                                                                                                           Case 6:23-bk-04081-TPG                                                                                                         Doc 86-3   Filed 02/26/24   Page 5 of 6


To be clear, does this mean you are rejecting the BSA and ceasing all sales on the Amazon.com
marketplace?

From: Justin Luna <jluna@lathamluna.com>
Sent: Tuesday, December 05, 2023 4:39 PM
To: Peterson, Brian T. <Brian.Peterson@klgates.com>; Benjamin Taylor <Btaylor@lathamluna.com>
Cc: Gearin, Mike <Mike.Gearin@klgates.com>; Lentz, Denise A. <Denise.Lentz@klgates.com>; Everhardt,
Carly S. <Carly.Everhardt@klgates.com>
Subject: Re: In re Evolution Micro LLC; Case No. 6:23-bk-04081-TPG
We are not going to work with Amazon. Thank you. Justin M. Luna Board Certified Business Bankruptcy Specialist 201 S. Orange Avenue, Suite 1400 Orlando, Florida 32801 407-481-5804 (direct) jluna@ lathamluna. com www. lathamluna. com @orlbankruptcy




We are not going to work with Amazon. Thank you.

Justin M. Luna
Board Certified Business Bankruptcy Specialist
<image003.png>
201 S. Orange Avenue, Suite 1400
Orlando, Florida 32801
407-481-5804 (direct)
jluna@lathamluna.com
www.lathamluna.com
@orlbankruptcy



From: Peterson, Brian T. <Brian.Peterson@klgates.com>
Date: Tuesday, December 5, 2023 at 7:00 PM
To: Justin Luna <jluna@lathamluna.com>, Benjamin Taylor <Btaylor@lathamluna.com>
Cc: Gearin, Mike <Mike.Gearin@klgates.com>, Lentz, Denise A. <Denise.Lentz@klgates.com>,
Everhardt, Carly S. <Carly.Everhardt@klgates.com>
Subject: In re Evolution Micro LLC; Case No. 6:23-bk-04081-TPG

Justin and Benjamin,

We recently became aware of the above-referenced bankruptcy case. We understand that the Debtor
has a seller account with Amazon and that there is a Plan objection deadline of tomorrow.

Does the Debtor wish to continue to sell on the Amazon online marketplace? To the extent that this is
the case, the Debtor will need to assume the Business Solutions Agreement (“BSA”) with Amazon.com
Services, LLC. It doesn’t appear that the Plan proposes to assume the BSA pursuant to Section 365.
Additionally, it appears that there is a negative balance in the Amazon seller account that the Debtor
would need to cure in connection with such assumption.

Would it be possible to agree to an extension of the objection deadline while we try and sort these
issues out?

  <image004.jpg>



Brian T. Peterson
Partner
K&L Gates LLP
925 4th Avenue, Suite 2900
                                                                                                                                                                                                                                                              2
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